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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


ROWVAUGHN WELLS, INDIVIDUALLY               )
AND AS ADMINISTRATRIX OF THE                )
ESTATE OF TYRE DEANDRE NICHOLS,             )
DECEASED,                                   )
                                            )
        Plaintiffs,                         )
                                            )
v.                                          )     CASE NO. 2:23-CV-02224
                                            )
THE CITY OF MEMPHIS, A                      )
MUNICIPALITY; CHIEF CERELYN DAVIS,          )
IN HER OFFICIAL CAPACITY; EMMITT            )
MARTIN III, IN HIS INDIVIDUAL               )
CAPACITY; DEMETRIUS HALEY, IN HIS           )
INDIVIDUAL CAPACITY; JUSTIN SMITH,          )
IN HIS INDIVIDUAL CAPACITY;                 )
DESMOND MILL, JR. IN HIS INDIVIDUAL         )
CAPACITY; TADARRIUS BEAN, IN HIS            )
INDIVIDUAL CAPACITY; PRESTON                )
HEMPHILL, IN HIS INDIVIDUAL                 )
CAPACITY; ROBERT LONG, IN HIS               )
INDIVIDUAL CAPACITY; JAMICHAEL              )
SANDRIDGE, IN HIS INDIVIDUAL                )
CAPACITY; MICHELLE WHITAKER, IN             )
HER INDIVIDUAL CAPACITY; DEWAYNE            )
SMITH, IN HIS INDIVIDUAL CAPACITY           )
AND AS AGENT OF THE CITY OF                 )
MEMPHIS,
                                            )
        Defendants.                         )


               DEFENDANT JAMICHAEL SANDRIDGE’S MOTION TO BE
                EXCUSED FROM STATUS CONFERENCE SCHEDULED
                 FOR MARCH 19, 2025 BEFORE MAGISTRATE JUDGE
                                  CHRISTOFF




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       COMES NOW, Defendant JaMichael Sandridge (“Mr. Sandridge”) by and through his

attorney of record, and submits this, his Motion to be excused from Status Conference scheduled for

March 19, 2025. In support thereof, Defendant Sandridge states as follows:


   1. On March 11, 2025 this Honorable Court changed the date of a status conference

       scheduled for March 12, 2025 to March 19, 2025.

   2. Counsel for Defendant Sandridge has a two (2) day trial in Nashville, Tennessee

       scheduled to begin on March 19, 2025.

   3. Defendant Sandridge submits that the subject of the scheduled status conference will

       primarily involve the Plaintiff and City of Memphis.

   4. As a result, Defendant Sandridge respectfully requests that this Honorable Court allow

       his counsel to be excused from the March 19, 2025 status conference.

                                                              Respectfully Submitted,

                                                              /s/Laura E. Smittick
                                                              Laura E. Smittick #32374
                                                              2448 W. 81st Street
                                                              Suite 5900
                                                              Tulsa, OK 74137
                                                              (918) 494-6868


                            CERTIFICATE OF CONSULTATION

       I, Laura E. Smittick, do hereby certify that on March 11, 2025 I emailed a copy of the

foregoing Motion to all counsel of record in an attempt to consult on this matter. As of the date

of filing this Motion, no party has objected.

                                                      /s/Laura E. Smittick
                                                      ____________________________
                                                      Laura E. Smittick




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                               CERTIFICATE OF SERVICE

       I, Laura E. Smittick, do hereby certify that I have forwarded a copy of the foregoing

document through the ECF/ECM system on this 12th day of March 2025 to all parties in this case.


                                                   /s/Laura E. Smittick
                                                   ____________________________
                                                   Laura E. Smittick




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